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                                                        CULPEPPER IP, LLLC
                                                                ATTORNEY AT LAW
                                                          75-170 HUALALAI ROAD, SUITE B204
KERRY S. CULPEPPER *                                            KAILUA-KONA, HI 96740

                                                                 TEL: (808) 464-4047
* ADMITTED TO PRACTICE IN VIRGINIA, HAWAI’I                      FAX: (202) 204-5181
 AND BEFORE THE USPTO
                                                                www.culpepperip.com
                                                                      ____________

                                                           PATENTS, TRADEMARKS & COPYRIGHTS


                                                              August 08, 2019
                                                     VIA FIRST CLASS MAIL AND EMAIL
                                                       COMPLIANCE@OPENSRS.ORG
           Copyright Agent, Tucows Inc.,
           5808 Lake Washington Blvd NE #201
           Kirkland, WA 98033

                                   Re: Copyright Claim Notification per 17 USC 512(c)(3)(A)


            Dear Sirs:

                  An physical or electronic signature of the copyright owner, or a person authorized to act
            on behalf of the owner, of an exclusive copyright that has allegedly been infringed.


                        Kerry S. Culpepper authorized to act on behalf of owners HB Productions, Inc.
                        /Kerry S. Culpepper/


                     Identification of the copyrighted work claimed to have been infringed, or, if multiple
            copyrighted works at a single online site are covered by a single notification, a representative
            list of such works on that site.


                        The motion picture(s); Hellboy.
                     Identification of the material that is claimed to be infringing or to be the subject of
            infringing activity and that is to be removed or access to which is to be disabled, and information
            reasonably sufficient to permit Service Provider to locate the material.


                        (1) the file(s):
                        Hellboy.2019.720p.HC.HDRip.x264-MkvCage.Com.mkv
                  Accessible at https://ibit.uno/torrent/Hellboy-2019-720p-HC-HDRip-x264-MkvCage-Com-
            mkv-GrLPnxr/




                                                              Exhibit "1"
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 (2) information reasonably sufficient to permit Service Provider to locate the material:


       The website https://ibit.uno/torrent/Hellboy-2019-720p-HC-HDRip-x264-MkvCage-Com-
 mkv-GrLPnxr/


       Information reasonably sufficient to permit the Service Provider to contact the
 Complaining Party, such as an address, telephone number, and, if available, an electronic mail
 address at which the Complaining Party may be contacted.
 Kerry S. Culpepper, Esq., Culpepper IP, LLLC, 75-170 Hualalai Road, Suite B204, Kailua-Kona,
 Hawaii 96740 US Tel 1-808-464-4047


       A statement that the Complaining Party has a good faith belief that use of the material in
 the manner complained of is not authorized by the copyright owner, its agent, or the law.


        I, have a good faith belief that use of the material in the manner complained of is not
 authorized by the copyright owner, its agent, or the law.
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         A statement that the information in the notification is accurate, and under penalty of
 perjury, that the Complaining Party is the owner, or is authorized to act on behalf of the owner,
 of an exclusive right that is allegedly infringed.


        The information in the notification is accurate, and under penalty of perjury, I am
 authorized to act on behalf of the owners, HB Productions, Inc of an exclusive right that is
 allegedly infringed.

                                                Sincerely,
                                                /Kerry S. Culpepper/

                                                Kerry S. Culpepper
